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Information to identify the case:
Debtor
                 Rollcage Technology, Inc.                                             EIN 06−1636313
                 Name


United States Bankruptcy Court District of Connecticut
                                                                                       Date case filed for chapter 7 10/25/22
Case number: 22−20743 jjt

Official Form 309D (For Corporations or Partnerships)
                                                                                                                                       10/1/20
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set
For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney's fees.

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.


1. Debtor's full name                  Rollcage Technology, Inc.
2. All other names used in
    the last 8 years
3. Address                             7415 Riviera Cove
                                       Lakewood Ranch, FL 34202
4. Debtor's attorney                   Ronald Ian Chorches                                      Contact phone 860−563−3955
   Name and address                    Law Offices of Ronald I. Chorches
                                       82 Wolcott Hill Road − 2nd. Flr. Suite 2                 Email: ronchorcheslaw@sbcglobal.net
                                       Wethersfield, CT 06109
5. Bankruptcy trustee                  Anthony S. Novak                                          Contact phone 860.432.7710
   Name and address                    Novak Law Office, P.C.
                                       280 Adams Street
                                       Manchester, CT 06042−1975
6. Bankruptcy clerk's office 450 Main Street                                                     Hours open:
   Documents in this case may 7th Floor                                                          9:00 a.m. − 4:00 p.m. Monday − Friday
   be filed at this address.         Hartford, CT 06103                                          Contact phone 860−240−3675
   You may inspect all records                                                                   Date: 10/25/22
   filed in this case at this office
   or online at
   https://pacer.uscourts.gov.
7. Meeting of creditors          November 21, 2022 at 12:00 PM                                   Location:
   The debtor's representative
   must attend the meeting to be Conference Line: 866−720−4251                                   DUE TO COVID−19 THE
   questioned under oath.                                                                        MEETING OF CREDITORS
   Creditors may attend, but are Participant Code: 1248423                                       WILL BE HELD
   not required to do so.                                                                        TELEPHONICALLY.
                                                                                                 For more information, see page 2 >




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Debtor Rollcage Technology, Inc.                                                                                     Case number 22−20743

8. Deadlines                           Deadline for all creditors to file a proof of claim Filing deadline: January 3, 2023
   The bankruptcy clerk's office       (except governmental units):
   must receive proofs of claim
   by the following deadlines.         Deadline for governmental units to file a proof Filing deadline: Governmental agencies
                                       of claim:                                       who wish to file a proof of claim should
                                                                                       do so within 180 days of the date the
                                                                                       Order for Relief was entered.
                                       A proof of claim is a signed statement describing a creditor's claim. A proof of claim form
                                       may be obtained at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a
                                       proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                       a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                       Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                       claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
                                       with consequences a lawyer can explain. For example, a secured creditor who files a proof
                                       of claim may surrender important nonmonetary rights, including the right to a jury trial.


9. Creditors with a foreign           If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   address                            asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                      United States bankruptcy law if you have any questions about your rights in this case.

10. Liquidation of the                 The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    debtor's property and              property. If the trustee can collect enough money, creditors may be paid some or all of the
                                       debts owed to them, in the order specified by the Bankruptcy Code. To ensure you receive
    payment of creditors'              any share of that money, you must file a proof of claim, as described above.
    claims
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